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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

    LASSWELL FOUNDATION FOR
    LEARNING AND LAUGHTER, INC.,
    FRED LASSWELL, INC., RED RYDER
    ENTERPRISES, INC., and GOLDBOOK,
    LTD,
                                                     CASE NO. 8:17-cv-00046-JDW-CPT
           Plaintiffs,

    v.

    TIMOTHY SCHWARTZ, DESIGN
    TANK, INC., and DOES 1-10,

          Defendants.
    ___________________________________/

                                NOTICE OF APPEARANCE

           TO: The Clerk of Court and all parties.

           I, MICHAEL J. COLITZ, III, am admitted or otherwise authorized to practice in

    this Court, and I appear in this case as counsel for: LASSWELL FOUNDATION FOR

    LEARNING AND LAUGHTER, INC., FRED LASSWELL, INC., RED RYDER

    ENTERPRISES, INC., and GOLDBOOK, LTD.

    Date: June 4, 2019                          Respectfully submitted,

                                                /s/ Michael J. Colitz, III
                                                Stefan V. Stein
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                                               Attorneys for Plaintiffs

                                CERTIFICATE OF SERVICE

             I hereby certify that on June 4, 2019 I filed the foregoing with the Court’s

    CM/ECF system which will send a Notice of Electronic Filing to all counsel of Record.


                                               /s/ Michael J. Colitz, III
                                               Michael J. Colitz, III




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